

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-79,910-01






EX PARTE CHARLES ALFRED JACKSON, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. C-1-009706-0810273-A IN THE CRIMINAL DISTRICT COURT NO. 1


FROM TARRANT COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated sexual
assault of a child and indecency with a child by contact and sentenced to concurrent terms of sixty
and twenty years' imprisonment.  The Second Court of Appeals affirmed the convictions. Jackson
v. State, No. 02-02-00198-CR (Tex.App.--Fort Worth Mar. 20, 2003).  

	Applicant contends, inter alia, that he was denied his right to pursue a pro se petition for
discretionary review in this Court after his convictions were affirmed by the Fort Worth Court of
Appeals. The trial court recommends that relief be granted, and the writ record supports the
recommendation. See Ex parte Riley, 193 S.W.3d 900 (Tex. Crim. App. 2006). 

	Applicant is entitled to the opportunity to file an out-of-time petition for discretionary review
of the judgment of the Second Court of Appeals in Cause No. 02-02-00198-CR that affirmed his
convictions in Cause No. 0810273D from the Criminal District Court No. 1 of Tarrant County. 
Applicant shall file his petition for discretionary review with this Court within 30 days of the date
on which this Court's mandate issues. Applicant's remaining claims are dismissed without prejudice. 
See Ex parte Torres, 943 S.W.2d 469, 474 (Tex. Crim. App. 1997).

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division. 


Delivered: September 18, 2013

Do not publish



